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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Scottsda|e Capita| Advisors Corp.. el al. *

Plain tiff,

 

Case No_ 8116-cv-00860-DKC

V.

 

Finam:ial |r'dustry Reg'.iatury A-.:‘lhor:ly, |nc.

Defendant. *

 

MOT[ON FOR ADMISSION PRO HAC VICE

l, Matthew H~ Kirt|and , am a member in good standing ofthe bar ofthis

 

Court. l am moving the admission of Kevin Hamisch

Scdhd.l|n C;p|l.ll Advlllm Corpomtlon. .|a|m J Hurry Tlm|hy B DtB|lli. lnd Dlrm| Mid\la| CNI

 

to appear pro hac vice in this case as counsel for

We certify that:

l. The proposed admittee is not a member of the Maryland bar and does not maintain
any law office in Maryland

2. The proposed admittee is a member in good standing of the bars of the following
State Courts and/or United States Courts:

State Court & Date of Admission U.S. Court & Date of Admission

Washington State, 1995
Washington, D.C., 2000

 

 

 

 

3. During the twelve months immediately preceding this motion, the proposed admittee
has been admitted pro hac vice in this Court 0 times.

4. The proposed admittee has never been disbarred, suspended, or denied admission to
practice law in any jurisdiction. (NOTE: If the proposed admittee has been
disbarred, suspended, or denied admission to practice law in anyjurisdiction, then
hefshe must submit a statement fully explaining all relevant facts.)

5. The proposed admittee is familiar with the Maryland Lawyers’ Ru|es of Prof`essional
Conduct, the Federal Rules of Civil Procedure, the Federal Ru|es of Evidence, the
Federal Ru|es of Appellate Procedure, and the Local Ru|es of this Court, and
understands he/she shall be subject to the disciplinaryjurisdiction of this Court.

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6. The proposed admittee understands admission pro hac vice is for this case only and
does not constitute formal admission to the bar of this Court.

7. Either the undersigned movant or

is also a member of the bar of this Court in good standing, and will serve as co-
counsel in these proceedings

 

8. The $50.00 fee for admission pro hac vice accompanies this motion.

9. We hereby certify under penalties of perjury that the foregoing statements are true

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

and correct.

MOVANT PROPOSED ADMITTEE
Ur\

Signature \"'J

|V|atthew Kirt|and (Bar No. 26089) evin Harnisch

Printed name and bar number Printed name and bar number

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Office name Offlce name

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